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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig Deepwater     * MDL No. 2179
Horizon in the Gulf * of Mexico, on April 20, *
2010                                          * SECTION: J
                                              *
Applies to: All Cases.                        * JUDGE BARBIER
                                              *
                                              * MAGISTRATE SHUSHAN
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                       DEFENDANTS’ PROPOSED TIMELINE

TIMELINE     DEFENDANTS’ PROPOSED CMO

10/15/2010   Meet & Confer: Pre-Trial Orders (confidentiality, privilege, deposition protocol,
             document production protocol and e-discovery protocol, direct filing, etc).

11/1/2010    Submit Proposed PTOs.

11/1/2010    Plaintiffs’ Initial Written Phase I Discovery including discovery relating to
             casualty and personal jurisdiction. Defendants may serve written discovery upon
             other defendants and plaintiffs relating to casualty after this date. By this date,
             Plaintiffs and Defendants to meet and confer regarding a CMO for initial written
             discovery on spill extent, response and containment.

11/30/2010   Following entry of CMO, Plaintiffs serve initial written discovery on spill extent,
             response and containment as per meet and confer agreements.

12/1/2010    Defendants’ Responses to Initial Written Discovery on casualty and personal
             jurisdiction.

12/15/2010   File Master Complaints.

12/15/2010   Status conference relating to RICO cases and potential Master Complaint for
             RICO cases.

12/31/2010   Defendants provide privilege logs relevant to Phase I discovery. Defendants
             Identify the Sources of E-Data Not Produced Due to Alleged “Inaccessibility” or
             other Undue Burden or Cost, but Which May Include Evidence Relevant to these
             MDL Proceedings (See Advisory Committee Notes to Rule 26(b)(2)(B)).

1/3/2011     MIS 30(b)(6) Depos begin ( as necessary).



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1/18/2011      Rule 12 Motions or Answers to Master Complaints (see CMO 1 for bundle
               details).1

1/18/2011      Fact Discovery Depositions on Casualty Commence (BOP related depositions
               may not commence until BOP Joint Investigation Team testing complete).

1/18/2011      Defendants serve responses to initial written discovery on spill extent, response
               and containment.

2/18/2011      Oppositions to Rule 12 Motions to Dismiss.

3/18/2011      Reply Briefs in Support of Motions to Dismiss.

4/20/2011      Monition Date (re Limitation).

5/2/2011       Identify two to four PI/Wrongful Death Limitation action cases that were filed in
               EDLA and designated for Bench trial under Rule 9(h) for March 1, 2012 trial of
               Liability, Limitation, Exoneration and Fault allocation, and any subsequent trial
               of Damages.

5/20/2011      Deadline for Rule 14c claims, crossclaims and third-party complaints to be filed
               in Limitation action.

6/20/2011      Deadline for answers or responsive pleadings to crossclaims and third-party
               actions in Limitation action.

7/1/2011       Parties submit CMO for remaining discovery (including depositions and expert
               discovery) and scheduling (including dispositive motions) for designated case(s)
               on economic loss (OPA and Robins Dry Dock). Such a scheduling order may
               include consideration of suitability of cases for class certification and class
               certification discovery and briefing.

7/15/2011      Expert Reports from Limitation action parties with burden of proof on
               negligence and unseaworthiness.

8/15/2011      Expert Reports from Vessel Owner / Petitioner in Limitation.

9/15/2011      All March 1, 2012 trial Defendants, 14(c) Defendants, and/or Third-Party
               Defendants to serve expert reports.

10/15/2011     Rebuttal Expert Reports by all parties for the March 1, 2012 Trial.


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        Any jurisdictional discovery arising from Rule 12(b)(2) motions that may be filed will
be expeditiously dealt with by the parties through Liaison Counsel.
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11/15/2011      Depositions of All Experts for March 1, 2012 Trial.
through
1/16/2012

1/16/2012       Daubert Motions (if any) for March 1, 2012 Trial.

1/16/2012       Pre-Trial Stipulation, including Witness and Exhibit Lists, and Other Pre-Trial
                Motions for March 1, 2012 Trial.

1/23/2012       Final Pre-Trial Conference for March 1, 2012 Trial.

3/1/2012        Trial of Liability, Limitation, Exoneration and Fault Allocation in designated
                PI/Wrongful Death limitation action cases.

45 Days after   Status conference to discuss status of limitation trial, potential additional
ruling          discovery and scheduling and further proceedings, including quantum trials for
                adjudicated personal injury/wrongful death claimants.
